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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF WYOMING

JAYLYN WESTENBROEK, HANNAH,                 )
HOLTMEIER, ALLISON COGHAN, GRACE            )
CHOATE, MADELINE RAMAR, and MEGAN           )
KOSAR, on behalf of themselves and          )
derivatively on behalf of KAPPA KAPPA       )
GAMMA FRATERNITY,                           )
                                            )
      Plaintiffs,                           )
                                            )
v.                                          )       Civil Action No.: 23-CV-00051-ABJ
                                            )
KAPPA KAPPA GAMMA FRATERNITY, an            )
Ohio non-profit corporation, as a Nominal   )
Defendant and as a Direct Defendant;        )
MARY PAT ROONEY, President of the           )
Fraternity Council of KAPPA KAPPA GAMMA )
FRATERNITY, in her official capacity, KAPPA )
KAPPA GAMMA BUILDING CO., a Wyoming )
non-profit corporation, and ARTEMIS         )
LANGFORD,                                   )
                                            )
      Defendants.                           )


     ARTEMIS LANGFORD’S MOTION TO DISMISS WITH PREJUDICE


       COMES NOW Defendant, Artemis Langford, and hereby moves this Court to

dismiss Plaintiffs’ Amended Complaint with prejudice for violation of Federal Rule of

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    Case 2:23-cv-00051-ABJ   Document 49     Filed 03/03/25   Page 2 of 3




    Civil Procedure 8.

Dated ____03/03/2025_________.         __/s/ Rachel Berkness ___________
                                       Rachel M. Berkness, Bar No. 7-5966
                                       Freeburg Law, LLC
                                       Box 3442
                                       Jackson, WY 83001




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                           CERTIFICATE OF SERVICE

      The undersigned does hereby certify that a true and correct copy of the foregoing
document was delivered to the Court via the CM/ECF System and served upon counsel
via CM/ECF electronic transmission this 3rd day of March 2025.

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                                        /s/ Rachel Berkness
                                             Rachel Berkness

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